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 1
 2                     IN THE UNITED STATES DISTRICT COURT
 3                                DISTRICT OF ARIZONA
 4
 5                                            ) Case No.: 2:21-cr-00955-DLR-1
     United States of America,                )
 6                                            )
                  Plaintiff,                  )
 7                                            ) ORDER
           vs.                                )
 8                                            )
     Webster Batista Fernandez,               )
 9                                            )
                  Defendant                   )
10
11         Upon Motion of Defendant, Webster Batista Fernandez, Assistant U.S. Attorney
12
     Raymond Woo having no objection, and good cause appearing therefrom;
13
           IT IS ORDERED CONTINUING the January 9, 2023, Sentencing
14
15   Hearing in this matter to _____________, 2023, at ___________.
16
           The court finds excludable delay under Title 18 U.S.C. 3161(h)(7)(A) from
17
     _______ to _________.
18
19         DATED this _________ day of __________________, 2023.
20
21
22                                               _________________________________
                                                  United States District Judge
23
                                                  United States District Court of Arizona
24
25
26
27
28
